       EXHIBIT B (contd.)

Copy of All Filings with State Court
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                                                                                                           Velva L. Price
                                                                                                          District Clerk
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                                          NO. D-1-GN-18-001835                                         D-1-GN-18-001835
                                                                                                               Irene Silva
NEIL HESLIN,                                            $                  IN THE DISTRICT COURT OF
                                                        $
        Plaintffi                                       $
                                                        $
V                                                       ii                 TRAVIS COLINTY, TEXAS
                                                        $
ALEX E. JONES, INFOV/ARS, LLC,                          $
FREE SPEECH SYSTEMS, LLC, and                           $
OWEN SHROYER,                                           {i
                                                        $
        Defendants                                      $                  26   I't JUDICIAL DISTRICT

             DEFENDANTS' FIRST SUPPLEMENT TO MOTION TO DISMISS
                 UNDER THE TEXAS ÇITIZENS PARTICIPATION ACT

        COME NOW, Defendants Alex E. .Iones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the "l)efendants"), and hereby file this, their First Supplement

to Motion to Dismiss Under the Texas Citizens' Participation Act and in support thereof would

respectfully show this Honorable Court as follows:

        In his Response to the Defendants' Motion, Plaintiff offers opinions of Ms. Binkowski

that Owen Shroyer edited the Zero Hedge embedded videos. As shown by the supplemental

Affidavit of Owen Shroyer attached hereto, this is not true and Ms. Binkowski's testimony                    is

speculative because the embedded videos are no longer present for her to compare.

        He further claims damages from publication of this particular video by Defendants yet he

himself has also published        it   and has not offered evidence of how his damages arise from

Defendants' publication and not his own.

        Defendants have now alleged the defense of self-publication. ln particular, Plaintiff Neil

Heslin appeared on the April 19,2018 "Megyn Kelly Today" NBC national program. He

appeared   with his attorney, Mark Bankston, and published and/or authorized publication of what

he claims to be defamatory portions of the video to NBC's national audience.



Defendants' First Supplement to Motion to Dismiss under the Texas Citizens Participation Act   -   Page I
        At no time did Mr. Heslin or his attorney object to the showing or                seem surprised by it.

Indeed, subsequent to the showing of it, they were each asked for comments and were allowed to

speak. Again, none stated any objection ordisagreementto the publication. Evidence of this is

contained at the David Jones affidavit attached as Exhibit               "8" to the Defendants'       Motion to

Dismiss at Exhibit B- 19, which is a true and correct video of that program.

        There is no clear and specific evidence that any of the injuries and damages which Mr.

Heslin has claimed were caused separately by this publication by any of the f)efendants.

                                                  PRAYER

        WHEREFORE PREMISES CONSIDERED, Defendants respectfully requests that this

honorable Court grant Defendants' Motion to Dismiss under the Texas Citizens Participation Act

in its entirety and the Court grant them such other and further relief          as the   Court deems equitable,

just and proper.

                                                    RESPECTFUI,LY SUBMITTED,

                                                    GLAST, P}{ILLIPS & MURRAY, P.C.


                                                             /s/ tu\ørÊ C. lEnocfi
                                                    Mark C. Enoch
                                                    State Bar No. 06630360
                                                    14801 Quorum Drive, Suite 500
                                                    Dallas, Texas    75254-1449
                                                    Telephone:        972-419-8366
                                                    Facsimile:        972-419-8329
                                                    @

                                                    ATTORNEY FOR DEFENDANTS




Defendants' First Supplement to Motion to Dismiss under the Texas Citizens Participation Act   - Page 2
                                     CERTIFICATE OF SERVICE

         Ihereby certify that on this 29th day of August, 2018, the foregoing was sent via
efiletxcourts.gov's e-service system to the following:


Mark Bankston
Kaster Lynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, TX77002
713-221-8300
mar         .com




                                                                   /s/ Mark      C.   Enoch
                                                             Mark C. Enoch




Defendants' First Supplement to Motion to Dismiss under the Texas Citizens Participation Act   -   Page 3
                                               Nû. D-t-CN-t8-û01835

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renrÕved or in rrn¡'wily caufiu(l th$ renroval of these vider: links.

        3.       Attached to this aflidavit marked             ¿rs   Exhibit "?" is a true   ¿lnd cûrreûf copy


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         lìurther Âlfiant Saycth Not




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  go away (and why they should)
  By Þoug Criss, CNN
  O upoateo 2:24Pllt          ET,   wed February 2r,2ot8




  (CNN)    There are some popular -- and thoroughly debunked -- conspiracy theories that keep popping up after
            -
  every mass shooting. Sandy Hook was fake. The Vegas shooting was carried out by multiple shooters. Columbine
  was a result of bullying.

  Add to that, a new cottage industry of conspiracy theories that's already springing up around the high school
  massacre in Parkland, Florida.

  Why do some people dream up such awfulthings at a time of great tragedy? Why do so many people believe
  them? And can anything be done to stop it?

  Before we get to that, let's examine the conspiracy theories that will not go away.


  Parkland




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                                                                    GNNI



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   A woman tries dliring a candlÊlight vigil for the victims                            rf the shooting at Marjory          Stoneman
   üouglas High Schaol

  The conspiracy theory: Many of the students who survived the shooting at Marjory Stoneman Douglas High
  School in Parkland, Florida, have been very vocal about gun control.

  That's led to accusations the students aren't really students at all. Memes and videos on YouTube claim some of
  the students are "actors" working for anti-gun groups who travel around the country to the sites of mass shootings.
  ln fact, one of the top trending videos on YouTube this week alleged the same thing.

  The truth: That's just plain crazy, one of the outspoken kids told CNN. "l'm not a crisis actor," student David Hogg
  said on "4C360" Tuesday. "l'm someone who had to witness this and live through this and I continue to be having

https;//www.cnn .com|2018102121/us/mass-shootings-conspiracy-theories-trnd/index.html
812812018                                      Debunking the most persistent conspiracy theories on mass shootings - CNN

  to do that." lt prompted US Sen. Marco Rubio felt the need to come to the students' defense:

  "Claiming some of the students on TV after Parkland are actors is the work of a disgusting group of idiots with no
  sense of decency," he tweeted.


  Las Vegas




   The darnaged window$                CIn   the 32nd floor room that was u$ed by the shooter in the Mandalay
   Hotel

  The conspiracy theory: The investigation into the October massacre that killed 58 people at a country music
  festival in Las Vegas lD'd Stephen Paddock as the only shooter. But don't tell the conspiracy theorists that. They
  claim there where were multiple shooters" So many kooky theories and untruths on the shooting flooded the
  internet that Yoriïlibe changed its search algorithm to stop these conspiracy theories from bubbling to the top of
  searches.

  The truth: While it's true that investigators named two people as persons of interest in the early days of the
  investigtion, neither have been charged with a crime. One was Paddock's girlfriend who has since been publicly
  cleared in the case. The other was a þusiness associate.


  Sandy Hook




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8t28t2018                                       Debunking the most persistent conspiracy theories on mass shootings - CNN




  The conspiracy theory: The murders of 20 children and six adults at Sandy Hook Elementary School in
  December 2012 were shocking. But the fact there are people out there who believe it didn't happen is downright
  stupefying. ïhe false narrative that Newtown, Connecticut, massacre was faked by the government is pushed by a
  number of conspiracy theorists, including lnforwars founder Alex Jones.

  The truth: "They don't think anything bad ever happens, they don't think anyone ever gets hurt," Len Pozner,
  whose 6-year-old son Noah was killed in the shooting, told CNN in 2016. "They think whenever they see anything
  on the web or on television that is a crime or mass casualty event, that has to be a hoax." When Pozner began to
  see the hoax content appearing online, he worked to take down every video depicting false evidence, and created
  an organization called the HONR Networks to help him do so.


  Columþine




https://www.cnn .com|2018102121/us/mass-shootings-conspiracy-theories-trnd/index.html                                       4t7
8t28t2018                                         Debunking the most persistent conspiracy theor¡es on mass shootings - CNN




    Two students, Dylan Klebold, and nr¡c Harris, cårrying guns and bombs, opened fire inside
    tolurnbine l-"ligh $chool in Littleton, Colorado, on April 20, lggg

   The conspiracy theory: Thirteen people were killed -- 12 students and a teacher -- on April 20, 1999, when a pair
   of students went on a shooting rampage at Columbine High School in Littleton, Colorado, one of the first school
   shootings to shock the nation. The conspiracy theory goes the shooters were part of a group called the Trench
   Coat Mafia who attacked their fellow students because they felt they had been bullied.

  Ïhe truth:  That's the popular misconception that persists to this day, says journalist Dave Cullen, author of the
  book "Columbine." The killers weren't part of the Trench Coat Mafia (most members of that group had graduated
  years earlier); tfrey weren't bullied by other students and that they didn't target popular jocks, African-Americans or
  any other group, Cullen says. A school shooting wasn't their initial intent, he told CNN in 2009. They wanted to
  bomb their school in an attack they hoped would make them more infamous than Oklahoma City bomber Timothy
   McVeigh.


  The reason behind this misinformation spread




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   Snapes mänasing editor Brooke ßinkowsi<i, left

   So why do so many people believe these theories?

  Brooke Binkowski, managing editor of the fake news-busting website Snopes.com, said people who dream up and
  spread these untruths about tragedies probably never learnerl the most basic thing about compassion.

  "Ihese mass shootings -- who would fake these? You can't fake these horrible situations," said Binkowsi, a
  journalist whose career includes stints at Southern California Public Radio, CBS Radio and CNN. "l've covered their
  aftermaths rnyself and you cannot fake the smell of blood nor the way phones ring and ring and ring as people
  desperately try to talk to their loved ones, one last time."

                                                                       And the work of disentangling reality from a web of distortions
                                                                       dressed up as fact has become a persistent struggle for large
                                                                       segments of the population, a psychology professor said.

                                                                       "People are constantly bombarded with information from so
                                                                       many different sources and it isn't always easy to work out
                                                                       what is true and what is false, and which sources are credible
                                                                       and which are not," Karen Douglas, a professor of social
                                                                       psychology at the University of Kent in the UK told CNN in
                                                                       2016.

                                                                      "Tens of millions of people believe in conspiracy theories,"
                                                                      Dartmouth politicalscience professor Brendan Nyhan told
  Related Video: $hooting survivCIr; I'm not                          CNN. "There's a group of people that believe in a lot of them,
                                                                      but there's a much broader group that is willing to endorse
  a Çr¡sis actor û2'.24
                                                                      them in certain cases. lt's not a reflection of mental illness or
                                                                      pathology. lt's a common thing that otherwise smart and well-
                                                                      informed people do."


https://www.cnn .com|2018102121/us/mass-shootings-conspiracy-theories-trnd/index.html                                                     617
8t28t2018                                        Debunking the most persistent conspiracy theories on mass shootings - CNN

                                                                       While conspiracy theories aren't anything new, what is new is
                                                                       the rate of proliferation and speed at which the dark whispers
                                                                       turn to public pronouncements, thanks to social media and
                                                                       the internet.

                                                                       "someone like Alex Jones (of the lnfowars website) can
                                                                       amplify the most effective conspiracy theories and spread
                                                                       them to a large audience," Nyhan said. "Sean Hannity, too.
                                                                       We've seen memes jump from the fever swamp online to
                                                                       Hannity and Alex Jones and even Donald Trump's Twitter feed
                                                                       very quickly -- people like that can harvest the conspiracy
                                                                       theories that they thinl< are most interesting or entertaining or
  Helated Article: Where fake news goes                                shocking."
  to die
                                                                       How they can be stopped
  The best way to combat this, said Binkowski, is by constant debunking, but also by pointing a finger at people with
  big media platforms who spread this garbage.

  "We are debunking them as fast as we can. I am also aggressively calling out the people who are pushing these
  stories as part of my strategy," she said. "Not just because I find it disgusting, but also because when others see
  how fast they fold when confronted with facts, I think it helps cJiscredit those pushing things that should be
  discredited."

  CNN3 Nlco/e Chavez, Heather Kelly, Sara Sldne¿ Steye Almasy, Marisa Russe// and Gregory Krieg contributed
  to this story.




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V                                                     $                    TRAVIS COUNTY, TEXAS
                                                      $
ALEX E. JONES, INFOV/ARS, LLC,                        $
FREE SPEECH SYSTEMS, LLC, and                         $
OWEN SHROYER                                          $
        Defendants                                    $                    26I't JUDICIAL DISTRICT


    SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEF'ENDANTS' FIRST AMENDED
      RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR
       EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS

        COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the "Defendants"), and hereby file a supplemental aff,rdavit in

support of their First Amended Response to Plaintiff s Motion for Sanctions and Motion for

Expedited Discovery and Defendants' Motion for Sanctions.

        Defendants hereby      file the Affidavit for Authentication of Business Records attached

hereto as Exhibit   "4."
                                                   RESPECTFULLY SUBMITTED,

                                                   GLAST, PHILLPS & MURRAY, P.C.


                                                           /s/ fl(.ørk C. lEnocñ
                                                   Mark C. Enoch
                                                   State Bar No. 06630360
                                                   14801 Quorum Drive, Suite 500
                                                   Dallas, Texas 7 5254-1449
                                                   Telephone: 972-419-8366
                                                   Facsimile: 972-419-8329
                                                   fly63rc@verizon.net


                                                   ATTORNEY FOR DEFENDANTS


Supplemental Affidavit in Support of Defendants' First Amended Response to Plaintiff s Motion for Sanctions and
Motion for Expedited Discovery and Defendants' Motion for Sanctions   -   Page I
                                    CERTIFICATE OF SERVICE

       I  hereby certify that on this 29th day of August, 2018, the foregoing was sent via
efiletxcourts.gov's e-service system to the following:


Mark Bankston
Kaster Lynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, TX77002
713-221-8300
mark@fbtrial.com




                                                                 /s/ Mark C. Enoch
                                                           Mark C. Enoch




Supplemental Affidavit in Support of Defendants' First Amended Response to Plaintiffls Motion for Sanctions and
Motion for Expedited Discovery and Defendants' Motion for Sanctions -Page 2
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           }3HI"ORH         trr,{H,   the undersigned authority on this date- personally appeared David Jones,

rvho" being by me duly sworn, deposed and staterl as fìrllows:

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am cilpable of'rnaking tiris ailìdavit. I anr personalty acquainted with the f'acts stateel herein.

           l.            I am tlre Manager of þlu¡nan Rcsonrces and Corporate (iovernance al'Free Speech

Systenrs,       l.l.C ("F$S")" I have workecl in this position since 2û13, ln that role I                       have become

knorvleclgealrle nhout FSS' business activities, operations and                         staff. I am a custodian of the
records thet aru *ttached to this alTidavit.               I   anr"   by reêsùn o{'my duties and responsibilities,

I'amiliar   -w-ith      the manner in rvhich I;'SS records are created and maintained.

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        fl.         Ivlark L Bailen is a latryer   f.<rr   Defendant   þ-SS.


        9.          ÏrSS received the lixhibit o'2" lettcr fiorn Gocgle on or about Augusl 9,2018,

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VIA F'EI}ËX
Philipp Schindler
Senior Vice President
üoogle I-LC
I 6t){) Amphitheatre Parkrva¡,

N{ountain Vierv, ÇÅ 94043


Dcar Mr. $chindler:

\\¡e represent lrree Spcech Svstenrs, [,L{"ì 1"Frce Spee,ch") in rrertai¡r frlderal courf mûiters. Frce
Spccch has fbrrvardcd to us vour lcl[cr uî'August ç, ]018 regcrding notice of'terminarion ol'a
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flee S¡reech Systems, LLC (,,partner")
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Attention: Legal Oepartment
Rcr Terrnination ol Cüntent Àgreements

Dear Srr

we write on behalf of Google LLÇ fikia Google lnc"
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